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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


     UNITED STATES OF AMERICA
     Plaintiffs,

     VS                                                              CRIM NO: 08-204 DRD

     OMAR SANTIAGO-OCASIO [106]
     Defendant.


                  ORDER ADOPTING REPORT AND RECOMMENDATION

        ORDER adopting Report and Recommendation, Docket No. 1916 as to Defendant’s motion

to dismiss counts one through five, and seven of the indictment, or in the alternative to obtain a bill of

particulars and incorporated memorandum of points and authorities, Docket No. 1640.

        The records shows that the Report and Recommendations is unopposed. Hence, the Court needs

only satisfy itself that there is no plain error on the face of the record in order to accept an unopposed

Report and Recommendation. See Douglass v United Servs. Auto, Assn, 79 F.3d 1415 (5th Cir. 1996);

Nogueras-Cartagena v. United States, 172 F. Supp. 2d 296, 305 (D.P.R. 2001); Garcia v. I.N.S., 733

F. Supp. 1554 (M.D.Pa. 1990). After having reviewed the Report and Recommendation, the Court finds

no plain error in the findings made by the Magistrate Judge at Docket No. 1640, as the findings of fact

and the conclusions of law, are well supported on the record and applicable law. Hence, the Court

hereby adopts in toto the Report and Recommendation of the Magistrate Judge

        IT IS SO ORDERED.

        In San Juan, Puerto Rico, on this 15 th day of December 2009.



                                                 S/ DANIEL R. DOMINGUEZ
                                                 DANIEL R. DOMINGUEZ
                                                 U.S. DISTRICT JUDGE
